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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION

SHRIMAD HOLDINGS, L.P.                               §
D/B/A QUALITY INN & SUITES,                          §
                                                     §
                         Plaintiff                   §
                                                     §
v.                                                   §      CIVIL ACTION NO. 1:17-cv-00968
                                                     §
SENECA INSURANCE COMPANY                             §
AND DAVID CARBERRY,                                  §
                                                     §
                       Defendants                    §



                               INDEX OF MATTERS BEING FILED


        Pursuant to Rule 81.1 of the Local Rules of the United States District Court for the

Southern District of Texas, the following is an index of matters being filed in this case:

        1.      Notice of Removal;

        2.      Civil Cover Sheet;

        2.      Index of Matters Being Filed;

        4.      Designation of Counsel; and

        5.      A copy of the Travis County District Clerk’s file for this case has been
                requested including:

                a.      Copy of the Docket Sheet

                b.      Plaintiff’s Original Petition (filed 8/23/17);

                c.      Citation (filed 9/5/17);

                d.      Citation (filed 9/5/17);

                e.      Executed Service (filed 9/22/17);

                f.      Unexecuted Return of Service (filed 9/29/17); and
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                g.      Seneca Insurance Company’s Original Answer (filed 10/2/17).


                                             Respectfully submitted,

                                             THOMPSON, COE, COUSINS & IRONS, L.L.P.

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                                             ATTORNEYS SENECA INSURANCE
                                             COMPANY and DAVID CARBERRY




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